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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                  FORT PIERCE DIVISION

  JEFFERY BUONGIORNO,

         Plaintiff,

  vs.                                                  CASE NO.:        9:24-cv-80920-AMC

  ALEJANDRO MAYORKAS, in his
  official capacity as the Secretary of
  the United States Department of
  Homeland Security, et al.,


        Defendants.
  _______________________________/

               JOINT MOTION FOR LEAVE TO FILE MOTION TO DISMISS
                SECOND AMENDED COMPLAINT IN EXCESS OF 20 PAGES

        Defendants James Cord Byrd, in his official capacity as the Secretary of State of the State of

 Florida (Byrd), Ashley Moody, in her official capacity as the Attorney General of the State of Florida

 (Moody), Maria Matthews, in her official capacity as the Director of the Division of Elections,

 Florida Department of State (Matthews), Shevaun Harris, in her official capacity as the Secretary of

 the Department of Children and Families of the State of Florida, Dave Kerner, in his official capacity

 as the Chief Administrator of the Florida Department of Highway Safety and Motor Vehicles

 (Kerner) together with Greg Weiss, in his official capacity as Palm Beach County Commissioner for

 District 2, Maria Marino, in her official capacity as Palm Beach County Commissioner for District

 1,Wendy Sartory Link, in her official capacity as Palm Beach County Supervisor of Elections, and

 Ric Bradshaw, in his official capacity as the Sheriff for Palm Beach County and Mi Familia Vota

 (collectively the Defendants), by and through undersigned counsel and pursuant to Fed. R. Civ. P.

 7(b) and S.D. Fla. rules 7.1(a)(3) and 7.1(c)(2), request leave to file a Joint Motion to Dismiss the
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 Second Amended Complaint in excess of 20 pages, and as good cause therefore would show:

        1.      This Court’s paperless Order dated September 26, 2024 [ECF 58] directed the

 Defendants to file a combined response or individual answers to Plaintiff’s Second Amended

 Complaint [ECF 42] by October 3, 2024.

        2.      Defendants have drafted and are prepared to file a Joint Motion to Dismiss Second

 Amended Complaint that is 27 pages in length, which attaches one exhibit which is an additional

 two pages in length.

        3.      Southern District Local Rule 7.1(c)(2) provides that “[a]bsent prior permission of the

 Court, neither a motion and its incorporated memorandum of law nor the opposing memorandum of

 law shall exceed 20 pages.”

        4.      The Second Amended Complaint is 49 pages long absent any incorporated exhibits

 and contains 189 paragraphs, not counting the prayer for relief on pages 48 and 49, setting forth a

 great number of allegations and four separate causes of action against the nine remaining Defendants.

        5.      The Defendants have worked collaboratively to prepare a single joint motion to

 dismiss containing all appropriate arguments, but given the number of responding Defendants (nine)

 and the large number of allegations made against each of them, they are unable to adequately plead

 a motion to dismiss without exceeding the 20-page limit imposed by S.D. Fla. Rule 7.1(c)(2).

        6.      The Defendants therefore jointly petition this Court for entry of an Order granting

 them leave to file a Joint Motion to Dismiss the Second Amended Complaint in excess of 20 pages.

                                 CERTIFICATE OF CONFERAL

        Pursuant to S.D. Rule 7.1(a)(3), undersigned counsel for the Defendants hereby certify that

 they have forwarded this motion to Plaintiff Jeffery Buongiorno, pro se, by email to

 Jeff@etektraining.com on October 3, 2024. Mr. Buongiorno has advised that he objects to the




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 requested relief.

        Respectfully submitted this 3rd day of October 2024.

                                               ASHLEY MOODY
                                               FLORIDA ATTORNEY GENERAL

                                               /s/ Timothy L. Newhall
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                                               /s/ Jeremy F. Goldstein
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                                                /s/ Thomas E. Jablonski
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                                               Assistant County Attorney
                                               Florida Bar No. 121866
                                               Counsel for Defendants Greg Weiss and Maria
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                                                /s/ James O. Williams, Jr., Esq.
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                                                Florida Bar No. 614513
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                                                Williams, Leininger & Cosby, P.A.
                                                11300 US Highway One, Suite 300
                                                North Palm Beach, FL 33408
                                                Telephone: 561-615-5666
                                                Facsimile: 561-615-9606

                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was filed with the

  Court’s CM/ECF system, which provides notice to all parties, and sent by email to Plaintiff Jeff

  Buongiorno at Jeff@etektraining.com on this 3rd day of October 2024.

                                                     /s/ Timothy L. Newhall
                                                     Timothy L. Newhall




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